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                          Exhibit B
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                           UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 UNITED STATES OF AMERICA

 v.                                                   Criminal No. 3:21-cr-00011-L

 SURGICAL CARE AFFILIATES, LLC
 and SCAI HOLDINGS, LLC


                                       PROTECTIVE ORDER

        Before the court is the Government’s Unopposed Motion for a Protective Order Governing

Disclosure of Discovery Materials (Doc. 18), filed January 25, 2021. The court finds that good

cause has been established to restrict discovery in this case. The court believes that a protective

order is a reasonable measure that protects the rights of Defendants, the public, and witnesses

involved in the case. Accordingly, the court grants the motion. Pursuant to Rules 16(d) and 49.1

of the Federal Rules of Criminal Procedure and the inherent authority of this court, it is hereby

ordered:

        That any discovery materials (or copies thereof) provided by the Government to the defense

(regardless of when such materials were produced):

                a.      will be considered “Confidential Information” and labeled
                        “Confidential Subject to Protective Order”;

                b.      are not to be discussed with, nor disclosed to, anyone other
                        than:

                            1. corporate representatives of the named Defendants
                               that are necessary to the companies’ defense
                               (collectively referred to herein as “Defendants”,

                            2. defense counsel of record, and staff of defense
                               counsel of record, including investigators,
                               paralegals, expert witnesses, and other contracted
                               agents associated with the attorneys of record for
                               purposes of defense preparation for this criminal case


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                                or any appeal regarding this criminal case
                                (collectively referred to herein as “defense counsel”),
                                and

                            3. witnesses or their counsel (collectively “witnesses”)
                               for this criminal case or any appeal regarding this
                               criminal case,

                        for use solely in connection with this criminal case;

                c.      will not be copied, except to the extent needed as exhibits for
                        trial, pretrial hearings, or pleadings, or as defense counsel’s
                        working copies;

                d.      will not be provided to or kept by the Defendants, except that
                        defense counsel may share copies with Defendants for use
                        solely in connection with this criminal case (including any
                        appeal), provided that Defendants do not retain copies of the
                        Confidential Information for a longer period than is
                        necessary for this criminal case;

                e.      will not be provided to or kept by a witness, except that
                        defense counsel may show discovery to a witness provided
                        that the witness does not retain a copy of the Confidential
                        Information;

                f.      will not be attached to any public filings with the court or
                        introduced at trial by Defendants or defense counsel without
                        prior notice to the United States so that the United States
                        may seek an additional order sealing or redacting the
                        documents and information contained therein from public
                        disclosure as necessary; however, nothing in the Protective
                        Order alters the obligations to redact any PII in the
                        Confidential Information in accordance with Federal Rule of
                        Criminal Procedure 49.1; and

                g.      shall not be disseminated or disclosed by the defendants,
                        defense counsel, or any agents thereof, to anyone other than
                        this court, the parties to this case, or witnesses as provided
                        in this Protective Order, including a prohibition on
                        disseminating or disclosing any information contained
                        within Confidential Information.

        Prior to providing discovery to persons listed in section (b) of this Protective Order,

Defendants or defense counsel are required to provide a copy of this Protective Order to the person

receiving discovery and obtain written acknowledgment that that person is bound by the terms and


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conditions of the Protective Order. The written acknowledgment may be made by electronic

means, including by email reply, and it need not be disclosed or produced to the Government

unless ordered by the court. In addition, any attorney of record who is retained or appointed to

represent a defendant or who is later relieved of representation of a defendant is bound by the terms

of this Protective Order unless excused from its terms by the court.

        Defendants and defense counsel shall use reasonable care to ensure that the Confidential

Information is not disclosed or disseminated to any third parties in violation of the Protective

Order. In the event of an inadvertent disclosure of Confidential Information, Defendants or

defense counsel shall, within three days of learning about the inadvertent disclosure, notify the

United States that an inadvertent disclosure occurred. Defendants or defense counsel shall use all

reasonable efforts to secure the return or destruction of the inadvertently disclosed Confidential

Information. If, after five days from the date the United States was notified about the inadvertent

disclosure, Defendants or defense counsel are unable to secure the return or destruction of the

inadvertently disclosed Confidential Information, they shall promptly notify the United States as

to the identity of the recipient of the inadvertently disclosed Confidential Information.

        Nothing in this Protective Order shall restrict or prevent Defendants or defense counsel

from disclosing to any entity or person, or their counsel, documents that the entity or person had

access to in the ordinary course of business.

        All Confidential Information turned over to Defendants and defense counsel, any copies

made thereof, and any documents reflecting information contained within Confidential

Information, shall be returned to the United States or destroyed within 30 days after this case is

disposed of by trial, appeal, or other resolution of the charges against Defendants. In the event

Defendants or defense counsel destroy all copies, they shall certify the destruction in writing to




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the United States within the 30-day period. Defense counsel will be permitted to retain their own

work product, notwithstanding that it may reflect information contained within Confidential

Information, and documents filed with or obtained from the court (subject to any other restrictions

imposed by the court), provided that Confidential Information itself will not be retained, and any

documents that reflect information contained within Confidential Information will continue to be

governed by the terms of this Protective Order.

        It is so ordered this 28th day of January, 2021.



                                                     __________________________________
                                                     SAM A. LINDSAY
                                                     UNITED STATES DISTRICT JUDGE




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